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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                               NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9                                                         ORDER ON EX PARTE REQUEST FOR
                                        This Order Relates To:                               EXTENSION OF IPP CLAIMS
                                  10                                                         DEADLINE
                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13           On December 8, 2015, the Court received a letter dated December 7, 2015, a copy of

                                  14   which is attached as Exhibit A. The letter is an ex parte communication. It requests an extension

                                  15   of the claims deadline related to the upcoming Indirect Purchaser Plaintiff settlement hearing. The

                                  16   author of the letter appears not to be a claimant, a party, or an attorney for a party. Also, the

                                  17   claims deadline was December 7, 2015, and the letter was received by the Court on December 8,

                                  18   2015.

                                  19           The request is denied.

                                  20           IT IS SO ORDERED.

                                  21   Dated: December 10, 2015
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                                                                                                       JON S. TIGAR
                                  23                                                             United States District Judge

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